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Attorneys for Defendant
EXPERIAN INFORMATION SOLUTIONS, INC.

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

ROANE HOLMAN, NARCISCO
NAVARRO HERNANDEZ, MIGUEL A.
ALVAREZ,

Plaintiffs,

V.

EXPERIAN INFORMATION SOLUTIONS,
INC.

Defendant.

 

 

 

Case No. CV-11-00180-CW

Assigned to the Honorable
Claudia Wilken

DECLARATION OF PAT FINNERAN
IN SUPPORT OF EXPERIAN
INFORMATION SOLUTIONS, INC.’S
OPPOSITION TO PLAINTIFFS’
MOTION FOR CLASS
CERTIFICATION

Hearing: January 26, 2012
Time: 2:00 p.m.
Courtroom 2

DECLARATION OF P. FINNERAN ISO
OPPOSITION TO CLASS CERTIFICATION
CV-11-00180-CW

 
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1, Pat Finneran, declare as follows:

1, I am a Senior Marketing Manager in the Product Infrastructure department for
defendant Experian Information Solutions, Inc. (“Experian”), a position I have held since around
2000. Prior to holding this position, I was a marketing manager at Experian from 1996 until
2000. I worked in Experian’s Data Development department from 1995 to 1996. I began my
career at TRW, which later became Experian, in 1980, holding various positions at an Experian
branch office in San Diego, including consumer assistance, sales, and acting as the operations
manager for the branch. I make this declaration in support of Experian’s Opposition to Plaintiffs’
Motion for Class Certification. I have personal knowledge of the facts stated in this declaration
and if called as a witness I could and would testify competently to them.

2. My responsibilities include reviewing and enforcing the policies and procedures
for Experian’s databases and providing support for the legal and compliance department on
legislation and litigation issues. When I worked in Experian’s Data Development department, my
responsibilities included reviewing and filing information received from Experian’s data
furnishers.

3. Although Experian obtains information pertaining to certain civil court
proceedings, Experian’s coverage of small claims cases is limited. Accordingly, Experian cannot
reliably identify all towing deficiency debts that have been established by a court.

4. I have reviewed the towing scenarios set forth in the declaration of Jesse A.
Enriquez. Experian’s files do not contain the details necessary to determine which scenario gave
rise to any of the towing deficiency debts for which Finex sought information from Experian nor
which scenario gave rise to any of the towing deficiency debts reported to Experian by Finex.

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DECLARATION OF P. FINNERAN ISO

OPPOSITION TO CLASS CERTIFICATION
CV-11-00180-CW

 
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5. T conducted an analysis of Experian’s files related to the debts reported by Finex
and identified more than 400 separate towing companies associated with those debts.

I declare under penalty of perjury under the laws of the United States and the State of
California that the foregoing is true and correct.

Executed on December 21, 2011 at_fosla mwwaa > CV

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DECLARATION OF P. FINNERAN ISO
OPPOSITION TO CLASS CERTIFICATION
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